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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                                 MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                               CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



       [PROPOSED] ORDER GRANTING MOTION FOR DISMISSAL OF
 BRISTOL-MYERS SQUIBB COMPANY, ONCOLOGY THERAPEUTICS NETWORK
         CORPORATION AND APOTHECON, INC. WITH PREJUDICE


            The Motion for Dismissal of Bristol-Myers Squibb Company, Oncology Therapeutics

Network Corporation and Apothecon, Inc. with Prejudice is hereby GRANTED.

            Defendants Bristol-Myers Squibb Company, Oncology Therapeutics Network

Corporation and Apothecon, Inc. (collectively referred to as “BMS” or the “BMS Group”) are

hereby dismissed from the above-referenced action.

            The parties shall each bear their own costs.

            This dismissal has no effect on the State of Arizona’s claims or allegations against any

parties other than the BMS Group.




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            SO ORDERED this ___ day of __________, 2009.




            HON. PATTI B. SARIS, USDJ




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                                CERTIFICATE OF SERVICE

       I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
16th day of September, 2009.


                                              By        s/ Steve W. Berman
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                                              (206) 623-7292




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